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                                                                           FILED
                                                               United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                   Tenth Circuit

                               FOR THE TENTH CIRCUIT                               July 18, 2018
                           _________________________________
                                                                               Elisabeth A. Shumaker
                                                                                   Clerk of Court
   DR. RACHEL TUDOR,

         Plaintiff - Appellant,

   and

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.                                                           No. 18-6102
                                                         (D.C. No. 5:15-CV-00324-C)
   SOUTHEASTERN OKLAHOMA STATE                                  (W.D. Okla.)
   UNIVERSITY, et al.,

         Defendants - Appellees.
                        _________________________________

                                        ORDER
                           _________________________________

         This matter is before the court sua sponte. A review of the district court docket has

  revealed a pending motion to alter or amend the judgment filed by Appellant within the

  28-day period set forth in Fed. R. Civ. P. 59(e) (Doc. No. 311) and a pending motion for

  judgment as a matter of law or a new trial, filed by Appellees within the 28-day period set

  forth in Rule 59 (Doc. No. 316). The notice of appeal will not become effective until the

  district court disposes of both motions. Fed. R. App. P. 4(a)(4)(B). Accordingly, the

  deadline for Appellant to file her opening brief and appendix is VACATED and this

  appeal is ABATED.
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         Within 45 days from the date of this order, Appellant shall file a written report

  advising this court as to the status of the postjudgment motions. If the district court rules

  before that time, Appellant shall promptly notify this court in writing. Upon notification

  that the district court has ruled, the court will vacate the abatement and the appeal will

  proceed.

         When the dispositive order is entered by the district court, the clerk of the district

  court is directed to supplement the preliminary record in accordance with 10th Cir. R.

  3.2(B).


                                                 Entered for the Court
                                                 ELISABETH A. SHUMAKER, Clerk




                                                 by: Jane K. Castro
                                                     Counsel to the Clerk




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